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Anti-Americanism

from an American

Roxanne Dunbar-Ortiz lectures
on U.S. imperialism
Tuesday, November 09, 2004 @10:00AM
BY Imar WELCH

Aggressive and imperialist actions by the.
United States are not modern phenomena;
they are rooted in the founding and expansion :
of the U.S. This is particularly visible through .
the U.S.'s history of aggression towards its '

News

aboriginal people, according to historian’

Roxanne Dunbar-Ortiz.
An _anti-imperialist,
elaborated this concept during her public

Dunbar-Ortiz :

lecture "Cowboys and Indians: A Historical :

Perspective on U.S. Imperialism," held at

Concordia on Nov. 1 and sponsored by.

QPIRG Concordia and its partners.

She noted that though much of U.S. :
historical myth and fact is founded on people .

fleeing and fighting aggression
imperialism. We [Americans] have yet to have

and :

a real anti-imperialist revolution in the United .

States.

This, Dunbar-Ortiz noted, is largely due :

to the fact that

especially the Scots-Irish, had been

imperialist-style aggressors. Upon arriving in -
the colonial U.S., their policies were written

into the Declaration of Independence.

Throughout the lecture and question :
period, she asked once and periodically »
implied the question, What is so scary about
dismantling [U.S. imperialism and the U.S. '

empire]?

Going into a detailed history of U.S.

imperialism, Dunbar-Ortiz noted its roots
trace back to the Crusades and the Inquisition
with their emphasis on cleanness of blood, to
the British colonists who appropriated that

idea while colonizing the U.S. Subsequently, |

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many early colonists, :

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aboriginal peoples were expelled or:
slaughtered. The new U.S. and its western:
settlers, in turn, took on that concept. Though:
most of the imperialism was based on race,:
Dunbar-Ortiz noted that whiteness as an!
ideology (and its subsequent imperialism) is.
far more complex than skin colour, quoting’

Don Quixote.

In response to a question about the need:
for an intellectual revolution, Dunbar-Ortiz:
said that the younger generation are... less'
attached to the National Myth, making the;
time ripe for anti-imperialist revolution in the:
U.S. Elaborating when asked how this myth.
could be undermined further, she noted the:
need for the U.S. underclasses to be in’
solidarity with U.S. Indian movements, and:
strive to include Native perspectives of U.S. :

history.

means dismantling

anti-Americanism for me; I welcome it.

At the end, Dunbar-Ortiz made it clear:
that the only way to end U.S. imperialism is to:
end the U.S. empire, noting that this ending:
imperialism, not:
devolution, and creating something different '
instead. She noted that the U.S. and its people:
must be involved in this process, declaring in:
this context that there cannot be too much.

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